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        Attorneys for Plaintiff




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF OREGON
                                MEDFORD DIVISION

PACCAR FINANCIAL CORP., a Washington Case No. 1:19-cv-01962-CL
Corporation,
                                     MOTION TO WITHDRAW AS COUNSEL
             Plaintiff,              OF RECORD


               vs.


SISKIYOU CASCADE RESOURCES LLC,
an Oregon LLC, CASWELL THOMPSON
LLC, an Oregon LLC, and JOEL
CASEWELL, an individual,

               Defendants.


       Counsel for Defendants Joel Caswell and Siskiyou Cascade Resources LLC (“Defendants”)

moves to withdraw as counsel of record for Defendants for the basis and on the grounds that

Defendants have terminated me as counsel in this matter. This matter is not set for trial. Counsel’s

resignation will not prejudice any party to this matter as there are no pending deadlines or court

appearance dates scheduled by the court with the exception that a scheduling conference is scheduled

before Judge Clarke on April 26, 2022 at 10:00 a.m. Joel Caswell has been advised of this proceeding.




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All future communications should be directed to Joel Caswell at 16 N. Riverside Ave., Medford, OR

97501; joel@siskiyoucascaderesources.com; (541) 951-5065. Mr. Caswell has been advised that he

needs to obtain legal counsel to represent Siskiyou Cascade Resources, LLC.

       Dated:

                                              COLLINS ROWAN, LLP
                                              Attorneys for Defendants


                                              /s/ Matthew Rowan
                                              By: Matthew Rowan, OSB # 104927
                                              mrowan@collinsrowan.com




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                                 CERTIFICATE OF SERVICE

     I hereby certify that on the     day of April, 2022, I served the foregoing MOTION
TO WITHDRAW on the following parties at the following addresses:

       Joseph Grube
       1200 Fifth Ave. Ste.625
       Seattle, WA 98101
       joe@bgotrial.com
               Attorney for Plaintiff

Service was made via email / electronic service.


DATED:

                                              COLLINS ROWAN, LLP
                                              Attorneys for Defendant


                                              /s/ Matthew Rowan
                                              By: Matthew Rowan, OSB # 104927
                                              mrowan@collinsrowan.com




CERTIFICATE OF SERVICE                                     219 South Holly Street • Medford, Oregon 97501
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